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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 ANDREW SMITH, ET AL.,
                Plaintiffs,                          No. 10-11490
 v.                                                  District Judge Victoria A. Roberts
                                                     Magistrate Judge R. Steven Whalen
 COMPUTERTRAINING.COM, INC.,
 ET AL.,
                Defendants.
                                           /

                                  OPINION AND ORDER
          For the reasons discussed below, Plaintiffs’ Motion to Overrule Garnishee

 Continental Casualty Company’s Objections to Subpoena for Production of Documents
 and to Compel Production Thereof [Doc. #182] is GRANTED, under the terms set forth

 below.

                                    I.   BACKGROUND
          This case originated as a class action seeking damages on behalf of Plaintiffs who

 enrolled in computer training programs offered by the Defendants. The complaint alleged
 that after collecting “millions of dollars in tuition from Plaintiffs,” the Defendant schools
 abruptly closed in December of 2009, leaving the Plaintiffs high and dry. The Plaintiffs

 brought claims of negligence (Count I), breach of fiduciary duty (Count II), negligent
 misrepresentation (Count III), innocent misrepresentation (Count IV), promissory
 estoppel (Count V), unjust enrichment/breach of quasi-contract (Count VI), equitable

 estoppel (Count VII), breach of contract (Count VIII), fraud (Count IX), civil conspiracy
 (Count X), and concert of action (Count XI). See Third Amended Class Action Complaint


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 [Doc. #53]. On April 15, 2011, the Clerk of the Court entered defaults as to Defendant
 schools, and on November 22, 2011, the Court granted Plaintiffs motion for default

 judgment, determining the total tuition portion of the judgment to be
 $113,947,255.00,excluding interest [Doc. #154].

        During the post-judgment proceedings, Plaintiffs learned that Continental Casualty
 Company (“CCC”) provided a general liability policy to the ComputerTraining.com
 Defendants. Plaintiffs then served writs of garnishment and document subpoenas on
 CCC, which objected to the document requests.

        In their subpoena, the Plaintiffs requested production of 26 categories of
 documents, including policies, notices, correspondence, reports, and other material, all

 related to the ComputerTraining.com Defendants and/or the present lawsuit, the

 complaint, and notices of the lawsuit. The Plaintiffs also requested files on the
 Defendants as to claims and matters other than this lawsuit. CCC’s objections included

 general, boilerplate language based on attorney-client and work product privilege, as well

 as claims of confidentiality. CCC did not, however, provide a privilege log.
        CCC did, however, agree to produce the primary polices. However, its overriding

 response as to material pertaining to this lawsuit was as follows: “CCC will affirmatively
 state that its investigation is continuing but at this time it appears that this Subpoena, the
 Writ for Garnishment and corresponding Verified Statement and Complaint in support

 thereof were CCC’s first notice of this matter.”
        In its response [Doc. #185], counsel for CCC cites the following correspondence
 sent to Plaintiffs’ counsel in an attempt to resolve this motion:

        “Regarding our conversation of December 18, 2013, please be advised that
        Continental Casualty has no objection, and will produce, certified copies of
        the polices at issue. As discussed, Continental Casualty’s first notice of the
        underlying action came by way of service of the Writ of Garnishment.

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        Therefore, Continental Casualty does not have a claim file and there are no
        documents responsive to your subpoena with regard to any claim files or
        communications with reinsurers, etc.

        “The only other documents relating, in any way, to the subject policies are
        invoices regarding premium payments. While it seems that the invoices are
        not germane to any fact at issue, Continental Casualty is willing to produce
        those documents. Payment of premium is not being contested and is not an
        issue in this case.
        “In order to avoid what will clearly amount to a vigorously contested
        coverage case, we propose that Continental Casualty produce a corporate
        designee for deposition limited to the notice issue, only. In the event that an
        issue arises as to whether or not Continental Casualty was placed on notice,
        CNA will agree to produce the corporate designee for other matters in the
        future. It seems, however, that the notice issue alone will be sufficient to
        deny coverage and, that being the case, may afford both our respective
        clients considerable time and expense with regard to this matter.”

        At the Court’s direction, counsel for Plaintiffs and for CCC met at least twice, on

 January 21, 2014 and February 10, 2014, to discuss resolution of this motion, and counsel
 filed supplemental pleading following those meetings [Doc. #195, #197, #200].
        On February 21, 2014, CCC filed a proposed order resolving the outstanding

 discovery issues [Doc. #200, Exhibit A]. On February 24, 2014, Plaintiffs filed an
 acquiescence in that order, “save for a few minor stylistic, non-substantive changes,” and

 agreed to entry of that proposed order [Doc. #201]. However, Plaintiff detailed the

 following unresolved issues: (1) the form of a protective order; (2) the necessity for a

 CCC privilege log; and (3) the production of claims file materials for the Defendants’
 claims not related to the present lawsuit.1

                                 II.   LEGAL PRINCIPLES
        It is well established that “the scope of discovery is within the sound discretion of
 the trial court.” Lavado v. Keohane, 992 F.2d 601, 604 (6th Cir. 1993); Chrysler Corp. v.


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            That order has been docketed separately.
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 Fedders Corp., 643 F.2d 1229, 1240 (6th Cir. 1981). In exercising its discretion, the court
 should first consider Fed.R.Civ.P. 26(b)(1), which states, in pertinent part:

        “Parties may obtain discovery regarding any matter, not privileged, that is
        relevant to the claim or defense of any party...For good cause, the court may
        order discovery of any matter relevant to the subject matter involved in the
        action...All discovery is subject to the limitations imposed by Rule
        26(b)(2)(i), (ii), and (iii).” (Emphasis added).
        The same principles apply when discovery is sought from a non-party under Rule
 45. “A subpoena issued under Rule 45 is ‘subject to the general relevancy standard
 applicable to discovery under [Rule 26(b)(1) ].’” Vamplew v. Wayne State University Bd.

 of Governors, 2013 WL 3188879, *2 (E.D.Mich. 2013)(Cohn, J.)(quoting Syposs v.
 U.S.A., 181 F.R.D. 224, 226 (W.D.N.Y.1998)).

                                    III.    DISCUSSION

                                   A.      Protective Order
        On January 21, 2011, this Court entered a general protective order governing

 confidential material [Doc. #44]. CCC has proposed a more detailed confidentiality order.

 See Doc. #203, Exhibit 1. One of CCC’s concerns appears to be a desire to include
 language addressing the confidentiality of transcripts. Plaintiffs believe that the existing

 protective order is sufficient.

        The Court’s January 21, 2011 protective order is specifically directed at financial
 information, personal identifying information, “or trade secrets or other confidential
 information.” While phrased in general terms, it would clearly allow CCC to assert

 confidentiality as to transcripts, deposition testimony, or other material that would be
 deemed financial or trade secret information. The existing order is both comprehensive

 and elegant in its simplicity, and I see no reason to substitute CCC’s more densely worded
 alternative.

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                                     B.     Privilege Log
        Fed.R.Civ.P. 26(b)(5)(A) requires the filing of a privilege log as follows:

        “(5) Claiming Privilege or Protecting Trial-Preparation Materials.

        (A) Information Withheld. When a party withholds information otherwise
        discoverable by claiming that the information is privileged or subject to
        protection as trial-preparation material, the party must:

        (i) expressly make the claim; and

        (ii) describe the nature of the documents, communications, or tangible
        things not produced or disclosed--and do so in a manner that, without
        revealing information itself privileged or protected, will enable other parties
        to assess the claim.”

        “A privilege log must contain the basis for withholding discovery of the document
 and sufficient detail beyond conclusory allegations to demonstrate the fulfillment of the

 legal requirements for application of the privilege.” Hi-Lex Controls Inc. v. Blue Cross

 and Blue Shield of Michigan, 2013 WL 1303622, *3 (E.D.Mich. 2013)(Roberts, J.).

        CCC must therefore provide a sufficiently detailed privilege log as to any
 documents as to which it claims privilege.

                        C.   Defendants’ Files as to Other Matters
        Plaintiffs seek documents in CCC’s possession relating to the
 ComputerTraining.com Defendants, regardless of whether those documents involve the
 present lawsuit or other claims or transactions. That request is fairly within the broad

 scope of Fed.R.Civ.P. 26. “‘The Federal Rules of Civil Procedure authorize extremely broad
 discovery.’” MedCity Rehabilitation Services, LLC v. State Farm Mut. Auto. Ins. Co., 2013

 WL 4029051, *2 (E.D.Mich.. 2013)(Drain, J.)(quoting Guinn v. Mount Carmel Health

 Systems, 2010 WL 2927254, *3 (S.D.Ohio 2010). The Plaintiffs have a judgment against
 the ComputerTraining.com Defendants in excess of $113,000,000. CCC insured those

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 Defendants, who may or may not be collectible themselves. While the requested
 information as to claims or documents not directly involving this lawsuit may or may not

 be directly relevant, it is at least likely to lead to the discovery of relevant and admissible
 evidence, including the financial status of the Defendants. CCC’s objections as to this

 material are overruled, and the requested documents shall be produced.

                                               IV.
        For these reasons and under these terms, Plaintiffs’ Motion to Overrule Garnishee
 Continental Casualty Company’s Objections to Subpoena for Production of Documents

 and to Compel Production Thereof [Doc. #182] is GRANTED.
        IT IS SO ORDERED.


                                             s/R. Steven Whalen
                                             R. STEVEN WHALEN
                                             UNITED STATES MAGISTRATE JUDGE
 Dated: August 27, 2014


                               CERTIFICATE OF SERVICE
 I hereby certify that a copy of the foregoing document was sent to parties of record
 on August 27, 2014, electronically and/or by U.S. mail.

                                             s/Carolyn M. Ciesla
                                             Case Manager to the
                                             Honorable R. Steven Whalen




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